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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAROLINA
                                      FLORENCE DIVISION

 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,
 INC., et al.,

        Plaintiffs,

                v.

 CITY OF MYRTLE BEACH, et al.,

        Defendants.


                       DECLARATION OF TARA K. RAMCHANDANI

       I, Tara K. Ramchandani, hereby declare as follows:

       1.      I am over the age of eighteen and am competent to make this Declaration. I have

personal knowledge of the matters set forth herein.

       2.      I am co-counsel for Plaintiffs in the above-captioned case. I intend to file an

application for pro hac vice admission to practice in the District of South Carolina. Plaintiffs are

also represented by Peter Wilborn, who is admitted to practice in this district (ID #7609).

       3.      I submit this Declaration in support of Plaintiffs’ Motion for Preliminary

Injunction.

       A.      Exhibit 1 is a true and correct copy of a screenshot of the Myrtle Beach Bike

               Week, LLC webpage entitled Welcome to Myrtle Beach Bike Week, available at

               http://www.myrtlebeachbikeweek.com/events/spring-rally/, as of February 23,

               2018.

       B.      Exhibit 2 is a true and correct copy of the Declaration of Mickey James, Myrtle

               Beach NAACP Member, dated February 26, 2018.
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 C.    Exhibit 3 is a true and correct copy of a May 16, 2016 article by Lisa Gresci from

       WMBF News entitled Business Booming During First Weekend of Spring Bike

       Rally, available at http://www.wmbfnews.com/story/31987350/business-

       booming-during-first-weekend-of-spring-bike-rally, last visited on February 23,

       2018.

 D.    Exhibit 4 is a true and correct copy of the Answer of Defendants City of Myrtle

       Beach and Warren Gall to the First Amended Complaint filed in Nat’l Ass’n for

       the Advancement of Colored People, Inc. by its Conway Branch v. City of Myrtle

       Beach, No. 4:03-1732-12 (D.S.C) (Doc. No. 19) on August 16, 2004.

 E.    Exhibit 5 is a true and correct copy of a screenshot of the Bike Week Myrtle

       Beach webpage entitled Welcome to Bike Week Myrtle Beach, available at

       http://www.bikeweekmb.com/, as of February 23, 2018.

 F.    Exhibit 6 is a true and correct copy of the Declaration of Plaintiff Simuel Jones,

       dated February 23, 2018.

 G.    Exhibit 7 is a true and correct copy of the Declaration of Plaintiff Cedric

       Stevenson, dated February 23, 2018.

 H.    Exhibit 8 is a true and correct copy of the Declaration of Mitchell W. Brown,

       dated February 23, 2018.

 I.    Exhibit 9 is a true and correct copy of the Declaration of Dr. David B. Clark,

       dated February 26, 2018.

 J.    Exhibit 10 is a true and correct copy of the November 3, 2017 article by Bridget

       Callahan from the Star News Online entitled Doc Looks at How Myrtle Beach

       Treats Bike Weeks Differently, available at



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       http://www.starnewsonline.com/news/20171103/doc-looks-at-how-myrtle-beach-

       treats-bike-weeks-differently, last visited February 26, 2018.

 K.    Exhibit 11 is a true and correct copy of the May 24, 2017 article by Emily Weaver

       from The Myrtle Beach Sun News entitled Cities Swell With Bikers and Police

       When Atlantic Beach Bikefest Rolls Into Gear, available at

       http://www.myrtlebeachonline.com/news/local/bike-

       rallies/article152446824.html, last visited on February 20, 2018.

 L.    Exhibit 12 is a true and correct copy of excerpts of the October 13, 2004

       Deposition of Mayor Mark McBride in Nat’l Ass’n for the Advancement of

       Colored People, Inc. by its Conway Branch v. City of Myrtle Beach, No. 4:03-

       1732-12 (D.S.C) (Doc. No. 53-1).

 M.    Exhibit 13 is a true and correct copy of the First Amended Complaint filed in

       Nat’l Ass’n for the Advancement of Colored People, Inc. by its Conway Branch v.

       City of Myrtle Beach, No. 4:03-1732-12 (D.S.C) (Doc. No. 16) on July 2, 2004.

 N.    Exhibit 14 is a true and correct copy of email correspondence from Pat Dowling

       outlining the City of Myrtle Beach Memorial Day Weekend Plan, filed in Nat’l

       Ass’n for the Advancement of Colored People, Inc. by its Conway Branch v. City

       of Myrtle Beach, No. 4:03-1732-12 (D.S.C) (Doc. No. 53-4) on February 24,

       2005.

 O.    Exhibit 15 is a true and correct copy of the Expert Report of Chief Willie R.

       Williams and Chief Mitchell W. Brown filed as Exhibit 16 to Plaintiff’s Motion

       for Preliminary Injunction and Supporting Memorandum of Law in Nat’l Ass’n




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       for the Advancement of Colored People, Inc. by its Conway Branch v. City of

       Myrtle Beach, No. 4:03-1732-12 (D.S.C), (Doc. 53-5) on February 24, 2005.

 P.    Exhibit 16 is a true and correct copy of the Expert Report of David B. Clarke filed

       as Exhibit 6 to Plaintiff’s Motion for Preliminary Injunction and Supporting

       Memorandum of Law in Nat’l Ass’n for the Advancement of Colored People, Inc.

       by its Conway Branch v. City of Myrtle Beach, No. 4:03-1732-12 (D.S.C) (Doc.

       53-4) on February 24, 2005.

 Q.    Exhibit 17 is a true and correct copy of the Complaint filed in Nat’l Ass’n for the

       Advancement of Colored People, Inc. by its Conway Branch v. City of Myrtle

       Beach, No. 4:03-1732-12 (D.S.C) (Doc. No. 1) on May 20, 2003.

 R.    Exhibit 18 is a true and correct copy of the Written Opinion and Order filed in

       National Ass’n for Advancement of Colored People v. City of Myrtle Beach, No.

       4:03-1732-25TLS, 2006 WL 2038257 (D.S.C. July 20, 2006) (Wooten, J.) on

       May 9, 2005.

 S.    Exhibit 19 is a true and correct copy of the Settlement Agreement and Order filed

       in Nat’l Ass’n for the Advancement of Colored People, Inc. by its Conway Branch

       v. City of Myrtle Beach, No. 4:03-1732-12 (D.S.C) (Doc. No. 122) on February 6,

       2006.

 T.    Exhibit 20 is a true and correct copy of the October 12, 2014 article by Maya T.

       Prabhu from The Myrtle Beach Sun News entitled Bikefest Task Force to Discuss

       Traffic Loops, Centralized Process for Visiting Officers, available at

       http://www.myrtlebeachonline.com/news/local/article16686722.html, last visited

       on February 26, 2018.



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 U.    Exhibit 21 is a true and correct copy of the Horry County/Grand Strand May 2015

       Memorial Day Weekend Bikefest Task Force Brief. Exhibit 21 was obtained by

       Plaintiffs through a public records request to Horry County.

 V.    Exhibit 22 is a true and correct copy of Myrtle Beach, SC, Code of Ordinances §

       19-190 et seq. (Ordinance 2015-31).

 W.    Exhibit 23 is a true and correct copy of the Myrtle Beach City Council April 28,

       2015 Agenda and Meeting Minutes and the corresponding City of Myrtle Beach

       Resolution 2015-28. Exhibit 23 was obtained through a public records request to

       the City of Myrtle Beach.

 X.    Exhibit 24 is a true and correct copy of the April 14, 2015 article by Maya T.

       Prabhu from The Myrtle Beach Sun News entitled Myrtle Beach Plan Would Set

       Tight Restrictions For Certain Events, available at

       http://www.myrtlebeachonline.com/news/local/bike-rallies/article18545597.html,

       last visited on February 26, 2018.

 Y.    Exhibit 25 is a true and correct copy of the Myrtle Beach Police Department’s

       Memorial Day Weekend―Operational Plan: Status as of February 10, 2015.

       Exhibit 25 is an archived page of the current website

       http://www.cityofmyrtlebeach.com/bikefest.html and was accessed using the

       internet archive application known as the WayBack Machine. Exhibit 25 is

       available at

       https://web.archive.org/web/20150321201812/http://cityofmyrtlebeach.com/PDF

       %20Forms/Memorial%20Day%20Weekend%20Plan%20021015.pdf, last visited

       on February 26, 2018.



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 Z.    Exhibit 26 is a true and correct copy of the City of Myrtle Beach’s Atlantic Beach

       Memorial Day Bike: Traffic and Safety Plans for 2015. Exhibit 26 is an archived

       page of the current website http://www.cityofmyrtlebeach.com/bikefest.html and

       was accessed using the internet archive application known as the WayBack

       Machine. Exhibit 26 is available at

       https://web.archive.org/web/20150315063034/www.cityofmyrtlebeach.com/bikef

       est.html, last visited on February 26, 2018.

 AA.   Exhibit 27 is a true and correct copy of the Myrtle Beach Police Department’s

       2016 Memorial Day Weekend Operational Plan, dated May 20, 2016. Exhibit 27

       was obtained through a public records request to the City of Myrtle Beach.

 BB.   Exhibit 28 is a true and correct copy of the Myrtle Beach Police Department’s

       2016 Memorial Day Weekend Traffic Loop Incident Action Plan, dated April 9,

       2016. Exhibit 28 was obtained through a public records request to the City of

       Myrtle Beach.

 CC.   Exhibit 29 is a true and correct copy of the Myrtle Beach Police Department’s

       2017 Memorial Day Weekend Operational Plan, dated May 10, 2017. Exhibit 29

       was obtained through a public records request to the City of Myrtle Beach.

 DD.   Exhibit 30 is a true and correct copy of the Myrtle Beach Police Department’s

       2017 Memorial Day Weekend Traffic Loop Incident Action Plan, dated April 9,

       2017. Exhibit 30 was obtained through a public records request to the City of

       Myrtle Beach.

 EE.   Exhibit 31 is a true and correct copy of the May 30, 2017 article by Jo Brown

       from WBTW News 13 entitled Traffic Loop Did ‘What It’s Designed to Do’ Say



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       Myrtle Beach Leaders, available at http://www.wbtw.com/news/traffic-loop-did-

       what-its-designed-to-do-say-myrtle-beach-

       leaders_20171129121240598/868576086, last visited on February 26, 2018.

 FF.   Exhibit 32 is a true and correct copy of the May 30, 2017 article by Sydney Glenn

       from WPDE: ABC 15 News entitled Myrtle Beach Mayor: The Bikefest Traffic

       Loop Isn't Going Anywhere, available at http://wpde.com/news/local/myrtle-

       beach-mayor-the-bikefest-traffic-loop-isnt-going-anywhere, last visited on

       February 22, 2018.

 GG.   Exhibit 33 is a true and correct copy of the January 5, 2018 article by Michael

       Maely from WMBF News entitled Myrtle Beach Mayor Reflects on 12 Years of

       Growth and Accomplishments, available at

       http://www.wmbfnews.com/story/37204735/myrtle-beach-mayor-reflects-on-12-

       years-of-growth-and-accomplishments, last visited on February 21, 2018.

 HH.   Exhibit 34 is a true and correct copy of email correspondence from Kaycey

       Vrettos to Mark Kruea dated April 17, 2017. Exhibit 34 was obtained through a

       public records request to the City of Myrtle Beach.

 II.   Exhibit 35 is a true and correct copy of the Myrtle Beach Police Department

       Memorial Day Weekend 2017 booklet. Exhibit 35 was obtained through a public

       records request to the City of Myrtle Beach.

 JJ.   Exhibit 36 is a true and correct copy of email correspondence from John Pedersen

       dated May 22, 2016. Exhibit 36 was obtained through a public records request to

       the City of Myrtle Beach.




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 KK.    Exhibit 37 is a true and correct copy of email correspondence from Amy Prock

        dated May 19, 2016. Exhibit 37 was obtained through a public records request to

        the City of Myrtle Beach.

 LL.    Exhibit 38 is a true and correct copy of email correspondence from John Pedersen

        dated June 3, 2016. Exhibit 38 was obtained through a public records request to

        the City of Myrtle Beach.

 MM. Exhibit 39 is a true and correct copy of the Declaration of Plaintiff Leslie

        Stevenson, dated February 23, 2018.

 NN.    Exhibit 40 is a true and correct copy of the May 13, 2016 article by Audrey

        Hudson from The Myrtle Beach Sun News entitled Harley Bike Week: 5 Things to

        Know Before You Go, available at

        http://www.myrtlebeachonline.com/news/local/bike-rallies/article77304622.html,

        last visited on February 23, 2018.

 OO.    Exhibit 41 is a true and correct copy of a May 22, 2015 article by Gene Demby

        from NPR: Code Switch entitled 2 Biker Rallies: One White, One Black – One

        ‘Badass,’ The Other, Just ‘Bad,’ available at

        https://www.npr.org/sections/codeswitch/2015/05/22/408517195/two-biker-

        rallies-one-white-one-black-one-badass-one-just-bad, last visited on February 22,

        2018.

 PP.    Exhibit 42 is a true and correct copy of Coastal Carolina University Clay Brittain

        Jr. Center for Resort Tourism and E. Graig Wall Sr. College of Business

        Administration “The Tourism Economy Study: CCU Lodging Update,” from May

        24, 2012, May 31, 2012, May 23, 2013, May 30, 2013, May 22, 2014, May 29,



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        2014, May 21, 2015, May 28, 2015, May 26, 2016, June 2, 2016, May 25, 2017

        and June 1, 2017.

 QQ.    Exhibit 43 is a true and correct copy of email correspondence from the South

        Beach Neighborhood Watch to Mark Kruea, dated May 11, 2017. Exhibit 43 was

        obtained through a public records request to the City of Myrtle Beach.

 RR.    Exhibit 44 is a true and correct copy of email correspondence from John Pedersen

        dated June 7, 2016. Exhibit 44 was obtained through a public records request to

        the City of Myrtle Beach.

 SS.    Exhibit 45 is a true and correct copy of the Myrtle Beach Police Department

        Memorial Day Weekend Directives. Exhibit 45 was obtained through a public

        records request to the City of Myrtle Beach.

 TT.    Exhibit 46 is a true and correct copy of a screenshot of the Beach Bike Week

        webpage entitled 2017 Public Safety Guidelines: Atlantic Beach Memorial Day

        Weekend Bikefest, available at http://www.beachbikeweek.info/, as of February

        22, 2018.

 UU.    Exhibit 47 is a true and correct copy of a compilation of ordinances created by the

        City of Myrtle Beach. Exhibit 47 was obtained through a public records request to

        the City of Myrtle Beach.

 VV.    Exhibit 48 is a true and correct copy of the Horry County, SC 2017 Harley

        Davidson Spring Rally personnel assignments. Exhibit 48 was obtained through a

        public records request to Horry County.

 WW. Exhibit 49 is a true and correct copy of the June 16, 2016 article by Emily Weaver

        from The Myrtle Beach Sun News entitled “Longtime Bikefest Attendees Say



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         They Are Unfairly Targeted’” available at

         http://www.myrtlebeachonline.com/news/local/bike-rallies/article84291297.html,

         last visited on February 20, 2018.

  XX.    Exhibit 50 is a true and correct copy of the June 8, 2014 article by Amanda Kelley

         from The Myrtle Beach Sun News entitled Myrtle Beach Police chief Says

         Dedicated Emergency Lane Likely Returning Next Memorial Day, available at

         http://www.myrtlebeachonline.com/news/local/article16669028.html, last visited

         February 22, 2018.

  YY.    Exhibit 51 is a true and correct copy of the September 30, 2014 article by Jason

         M. Rodriguez from The Myrtle Beach Sun News entitled Horry County Leader

         Proposes Smaller Bikefest Loop; Myrtle Beach Mayor Doesn’t Support, available

         at http://www.scnow.com/news/business/local/article_b659b230-489d-11e4-

         84e3-0017a43b2370.html, last visited February 22, 2018.

  ZZ.    Exhibit 52 is a true and correct copy of the April 6, 2016 article from WPDE:

         ABC 15 News entitled Myrtle Beach Police Address Concerns for Upcoming

         Carolina Country Music Fest, available at http://wpde.com/news/local/myrtle-

         beach-police-address-concerns-for-upcoming-carolina-country-music-fest 1/, last

         visited February 23, 2018.

  AAA. Exhibit 53 is a true and correct copy of email correspondence from J. Pedersen

         dated November 8, 2014. Exhibit 53 was obtained through a public records

         request to the City of Myrtle Beach.




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  BBB. Exhibit 54 is a true and correct copy of email correspondence from Mark Kruea

         dated May 20, 2017. Exhibit 54 was obtained through a public records request to

         the City of Myrtle Beach.

  CCC. Exhibit 55 is a true and correct copy of the May 25, 2014 article by Yamiche

         Alcindor from USA Today entitled 3 Dead, 1 Hurt in Shooting in Myrtle Beach

         Motel, available at

         https://www.usatoday.com/story/news/nation/2014/05/25/myrtle-beach-

         shooting/9569305/, last visited February 26, 2018.

  DDD. Exhibit 56 is a true and correct copy of the May 26, 2014 article by Doug Stanglin

         from USA Today entitled Weekend Myrtle Beach Shootings Leave 3 Dead, 4

         Injured, available at

         https://www.usatoday.com/story/news/nation/2014/05/26/myrtle-veach-south-

         carolina-shootings-bike-rally/9596861/, last visited February 26, 2018.

  EEE. Exhibit 57 is a true and correct copy of the following compiled articles:

         a.     The January 12, 2015 article by Tonya Root from The Myrtle Beach Sun

                News entitled Myrtle Beach Police Charge Two Men, Search For Two

                Others in Shooting, available at

                http://www.myrtlebeachonline.com/news/local/crime/article16700798.htm

                l, last visited February 23, 2018;

         b.     The January 21, 2015 article by Tonya Root from The Myrtle Beach Sun

                News entitled Myrtle Beach Man Reports Gunshots Fired at His Home,

                available at




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             http://www.myrtlebeachonline.com/news/local/crime/article16702607.htm

             l, last visited February 23, 2018;

        c.   The March 6, 2015 article by Tonya Root from The Myrtle Beach Sun

             News entitled Woman Indicted On Murder, Weapons Charges in Myrtle

             Beach Man’s Stabbing Death, available at

             http://www.myrtlebeachonline.com/news/local/crime/article16718612.htm

             l, last visited February 23, 2018;

        d.   The March 9, 2015 article by Tonya Root from The Myrtle Beach Sun

             News entitled Myrtle Beach Man Reports His Foot Ran Over With Car,

             Being Shot at During Argument, available at

             http://www.myrtlebeachonline.com/news/local/crime/article16721483.htm

             l, last visited February 23, 2018;

        e.   The March 25, 2015 article by Elizabeth Townsend from The Myrtle

             Beach Sun News entitled Two Men Surrender To Police After Shooting

             Near Racepath, available at

             http://www.myrtlebeachonline.com/news/local/crime/article16826657.htm

             l, last visited February 23, 2018;

        f.   The March 31, 2018 article by Elizabeth Townsend from The Myrtle

             Beach Sun News entitled Man Arrested After Shots Fired in Myrtle Beach,

             available at

             http://www.myrtlebeachonline.com/news/local/crime/article17523167.htm

             l, last visited February 23, 2018;




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        g.   The June 3, 2015 article by Michael Smith from My Horry News entitled

             Myrtle Beach Police Release Photo From Second Shooting of 2015

             Bikefest, available at https://www.myhorrynews.com/news/crime/myrtle-

             beach-police-release-photo-from-second-shooting-of-

             bikefest/article_4bec504e-03df-11e5-95bd-1f743ad1110f.html, last visited

             February 23, 2018;

        h.   The August 14, 2015 article from WBTV Charlotte entitled 3rd Man

             Arrested For Murder in Connection to Collins St. Shooting in August,

             available at http://www.wbtv.com/story/29790264/one-suspect-charged-

             one-at-large-for-fatal-shooting-on-collins-st-on-monday, last visited

             February 26, 2018;

        i.   The September 1, 2015 article by Tonya Root from The Myrtle Beach Sun

             News entitled Myrtle Beach Police Charge Man With Murder in Hotel

             Parking Lot Shooting, available at

             http://www.myrtlebeachonline.com/news/local/crime/article33153513.htm

             l, last visited February 26, 2018;

        j.   The October 8, 2015 article by Elizabeth Townsend from The Myrtle

             Beach Sun News entitled Police Respond to Shooting at Burrito Bar,

             available at

             http://www.myrtlebeachonline.com/news/local/crime/article38171775.htm

             l, last visited February 23, 2018; and

        k.   The February 10, 2017 article by Elizabeth Townsend from The Myrtle

             Beach Sun News entitled Myrtle Beach Businessman to Face Attempted



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                Murder Trial; Stand Your Ground Challenge Denied, available at

                http://www.myrtlebeachonline.com/news/local/article132063189.html,

                last visited February 23, 2018.

  FFF.   Exhibit 58 is a true and correct copy of the November 5, 2016 article from The

         Myrtle Beach Sun News entitled Update: Police Say Myrtle Beach Night Club

         Shooting May Be Gang-Related, available at

         http://www.myrtlebeachonline.com/news/local/crime/article112763558.html, last

         visited February 22, 2018.

  GGG. Exhibit 59 is a true and correct copy of the April 19, 2017 article by Elizabeth

         Townsend from The Myrtle Beach Sun News entitled Six Shootings in Five Days.

         ‘We're Not A Small Little Resort Town Anymore,’ available at

         http://www.myrtlebeachonline.com/news/local/article145551434.html, last visited

         February 23, 2018.

  HHH. Exhibit 60 is a true and correct copy of the June 19, 2017 article by Robert Gearty

         from Fox News entitled Myrtle Beach Shooting Captured on Facebook Live

         Injures 6, Suspect Nabbed, available at

         http://www.foxnews.com/us/2017/06/19/myrtle-beach-shooting-captured-on-

         facebook-live-injures-6-suspect-nabbed.html, last visited February 22, 2018.

  III.   Exhibit 61 is a true and correct copy of the September 4, 2017 article by Max

         McGee from WMBF News entitled Myrtle Beach Officer Involved Shooting

         Dampers Labor Day Weekend, available at

         http://www.wmbfnews.com/story/36287414/myrtle-beach-officer-involved-

         shooting-dampers-labor-day-weekend, last visited February 22, 2018.



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  JJJ.   Exhibit 62 is a true and correct copy of the October 7, 2017 article by Holly

         DeLoache from WMBF News entitled Police Investigating After Shots at the Sea

         Banks Motel, available at http://www.wmbfnews.com/story/36546134/police-

         investigating-after-shots-fired-call-at-the-sea-banks-motel, last visited February

         22, 2018.

  KKK. Exhibit 63 is a true and correct copy of the City of Myrtle Beach, SC

         Comprehensive Annual Financial Report: Fiscal Year Ended June 30, 2015.

  LLL. Exhibit 64 is a true and correct copy of the South Carolina Department of Public

         Safety South Carolina Highway Patrol Operations Plan for 2017 Harley Davidson

         Bike Rally (last updated April 10, 2017), and the 2017 Memorial Week Bike Fest

         (last updated April 24, 2017). Exhibit 64 was obtained through a public records

         request to the South Carolina Department of Public Safety.

  MMM. Exhibit 65 is a true and correct copy of February 11, 1999 article by Steve Porter

         from The Harold entitled Guard May Supplement Memorial Day Police, filed as

         Exhibit 8 to Plaintiff’s Motion for Preliminary Injunction and Supporting

         Memorandum of Law in Nat’l Ass’n for the Advancement of Colored People, Inc.

         by its Conway Branch v. City of Myrtle Beach, No. 4:03-1732-12 (D.S.C) (Doc.

         53-4) on February 24, 2015.

  NNN. Exhibit 66 is a true and correct copy of a screenshot of the Black Bike Week

         webpage entitled The History of Black Bike Week, available at

         http://www.blackbikeweek.us/about-2/privacy-policy/info/black-bike-week-

         history/index.html 1/, as of February 25, 2018.




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